Exhibit

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FORM FSA-2065 UNITED STATES DEPARTMENT OF AGRICULTURE

(06/23) FARM SERVICE AGENCY
ANNUAL STATEMENT OF LOAN ACCOUNT
SAVE THIS INFORMATION OAC COMPLAINT PAGE = 001
FOR INCOME TAX PURPOSES SERVICING RIGHTS ISSUED DATE 123123
CASE NUMBER) =. 21-0. 14-* ** *** 7884 FINAL YEAR GF LOAN 2047
FUND CODE 44 LOAN NUMBER O74 DATE OF LOAN 102507 INTEREST RATE 05.5000 AMOUNT OF LOAN 175,000.00
INTEREST EFFECTIVE
DESCRIPTION ADVANCES INTEREST PRINCIPAL TOTAL T RATE DATE
BEGIN LOAN BALNCE 1,850.36 155,438.56 157,288.92 010123}
TOTAL LOAN PMTS 0.00 0.00 0.00
TOTAL PAID ON ALL
LOANS THIS YEAR 0.00 0.00 0.00
LOAN ACTIVITY 0.00 0.00 0.00 0.00
LOAN BALANCE UNPD INTEREST 10,399.48 ** UNPD PRIN 755,438.56 **
NXT AMT DUE 10, 908. 00 DATE DUE 100124
PAYMENT STATUS 10,908.00 BEHIND
TAXES PAID
ALL LOAN ACTIVITY 0.00 0.00 0.00 0.00
BORR BAL UNPD INTEREST 10,399.48  UNPD PRIN 155,438.56

EThese unpaid balances may not ret act the total amount due ta the Agency at payoff.

CAUTION: The amount shown may

CIPIENT' DER i add t
RECIP S/LEN S name, straet address, city or town, state or rot be fully deductible by you.

OMB NO.1545-1380

CORRECTED (if checked)

province, country, ZIP or foreign postal code, and telaphone no.
Its based the | ft
nd the cost and value. of tha rorm 1098 Mortgage
USDA, FARM SERVICE AGENCY secured property, may, apply, Also Rey. January 2022) Interest
PHONE #(888)518-4983 the exttnt iC was! Ineurred d by
‘ou, actually pald by you, and For Calendar Year S$
211 N BROADWAY STE 1701; MAIL STOP 2332 not raimbursed by another person. 2023 fatement
ST. LOUIS, MO 63120 4 Mortgage interest received from payer(s}/borrower(s}*
$ COPY B
0.00 FOR PAYER/BORROWER
ECIPIENT’S/LENDER' PAYER’ ORROWER'S TIN Outstandii
R ENT'S/' S TIN S/BOR s 2 principal? mortgage 3 Mortgage origination date | 1, information In boxes 1
$ impeeane tas BF cath
430951685 KKEKEKT RBA nr Be Reva ere reas ie
i Mort sur , t
raver’ S/BORROWER S name, Street addy ass, {including Beas gal or 4 Refund of overpaid interest 5 prem pga ir ance negligence anally or other
$ sanction may sad a
$ if the IRS determines

dea an underpayment of tax

6 Points paid on purchase of principal residence

asulis because you
overstated a deduction for
this mortgage interest o7
for these 6 Points. angParted

in box 8.

Number of properties

COREY LEA 21-314 $

INCORPORATED 7

PO BOX 422 lf address of property securing mortgage is the same as
PAYER'S/BORROWER'S address, the box is

ARRINGTON, TN 37014 checked, or the address or description is enterad

because you didn’t repor
the rafund of interes
{box 4); or because you
claimed a nondeductibl
tem

10 2Hher
IRS FORM 1098 DOES

NOT APPLY TO YOUR LOAN

securing the mortgage

Account number {see instructions}

KKAEKKT OB AA 1 OF

8 Address or dascription of property securing mortgage

41 Mortgage acquisition
date

FORM 1098 (Rev i- 2022) (Keep for your records) www. irs.gov/Foarm 1098

Bepartment of the Treasury— Internal Revenue Service

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